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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )     Criminal Action No. 6: 06-82-SS-DCR
                                                )
 V.                                             )
                                                )         MEMORANDUM OPINION
 RICHARD TODD ROBERTS                           )             AND ORDER
                                                )
        Defendant.                              )

                                      *** *** *** ***

       This matter is pending for consideration of Defendant Richard Todd Roberts’s objection

[Record No. 184] to United States Magistrate Judge Robert E. Wier’s Order denying the

Defendant’s motion for a bill of particulars as to the second superceding indictment. The

Magistrate Judge previously denied the Defendant’s motion for a bill of particulars as to the first

superceding indictment; however, the Defendant’s objection to that Order was denied, as moot,

due to the filing of the second superceding indictment.

       Having reviewed the parties’ pleadings in this matter, the Court finds that the Magistrate

Judge properly denied the Defendant’s motion and, therefore, will deny the Defendant’s

objection to the Magistrate Judge’s Order.

       I.      BACKGROUND

       On October 5, 2006, the grand jury returned a second superceding indictment in this case

charging the Defendant with several conspiracies, including conspiring with Defendants Vernon

Hacker and Bobby Joe Curry (“Curry”) and others to possess with intent to distribute cocaine


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and Schedule II and III pills. These conspiracies are alleged to have occurred from on or about

a day in July 1999, until on or about May 2, 2005, in Clay County, Kentucky. In addition, the

Defendant is charged with the theft of over $5,000 in government funds in violation of 18 U.S.C.

§ 666. Defendant Curry has entered into a plea agreement as to the counts charged against him

in the first superceding indictment. It is apparent that the United States intends to call Curry as

a witness in the trial of Roberts and Hacker.

       As mentioned above, this is the Defendant’s second request for an order directing the

government to provide the Defendant with a bill of particulars. The Defendant was indicted in

the first superceding indictment returned in this matter on August 17, 2006, and filed his first

motion for a bill of particulars on August 31, 2006. [Record No. 74] The Magistrate Judge

subsequently denied the Defendant’s motion.           The Defendant objected to the Magistrate’s

Order, but a second superceding indictment was returned on October 5, 2006, before his

objection was submitted to the Court. The Court then denied the objection as moot. Thereafter,

the Defendant filed a motion for a bill of particulars as to the second superceding indictment

[Record No. 139], requesting substantially the same information as the first motion, but with less

particularity. The Magistrate Judge again denied the Defendant’s motion, and the Defendant

filed his present objection to the Magistrate’s Order. [Record No. 184] Defendant Hacker

joined in all the previously filed pleadings regarding the requests for a bill of particulars;

however, he did not join in the currently pending objection.




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        On the same date the Defendant filed his most recent objection, he also filed a motion to

continue the trial in this matter. It is noteworthy that, in support of his motion to continue, the

Defendant asserted that

        [t]his defendant needs additional time to prepare for trial because he has not had
        an opportunity to completely review the voluminous discovery provided by the
        United States on October 5, 2006 (1 CD containing 534 pages); October 17, 2006
        (1 CD containing 2480 pages, 1 audio tape and 1 video tape); and, November 10,
        2006 (1 CD containing 31 pages)[.]

[Record No. 185, p. 1] The Court continued the trial in this matter for other reasons, and the

Defendant’s motion to continued was denied as moot. Despite the Defendant’s assertions in his

motion to continue regarding the “voluminous discovery” provided by the United States, the

Defendant simultaneously filed his objection to the Magistrate Judge’s Order denying his motion

for a bill of particulars.

        II.     ANALYSIS

        The Defendant contends that a bill of particulars is necessary in this case to apprise him

of the nature and scope of the charges against him, to allow him to adequately prepare for trial,

to prevent prejudicial surprise at trial, to clarify the issues and avoid confusion and delay at trial,

and to protect him against a second prosecution for the same offense. [Record No. 184] In

support of his motion and objection, the Defendant adopts the arguments in his previous motion

and objection as to the first superceding indictment and asserts that the “second superceding

indictment is vague and conclusory and Roberts needs the assistance of the requested bill of

particulars in order to properly defend the charges.” [Record No. 184, p. 2]




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       Rule 7(f) of the Federal Rules of Criminal Procedure permits the Court to direct the

government to file a bill of particulars when the indictment does not sufficiently set out the

charges against the defendant. United States v. Ridley, 199 F. Supp. 2d 704, 707 (S.D. Ohio

2001). The well-recognized purposes of a bill of particulars are summarized as follows:

       [1] to inform the defendant of the nature of the charge against him with sufficient
       precision to enable him to prepare for trial, [2] to avoid or minimize the danger
       of surprise at the time of trial, and [3] to enable him to plead his acquittal or
       conviction in bar of another prosecution for the same offense when the indictment
       itself is too vague, and indefinite for such purposes.

United States v. Birmley, 529 F.2d 103, 108 (6th Cir. 1976); see also United States v. Salisbury,

983 F.2d 1369, 1375 (6th Cir. 1993). However, a bill of particulars is “not meant as a tool for

the defense to obtain detailed disclosure of all evidence held by the government before trial.”

Salisbury, 983 F.2d at 1375 (citing United States v. Kilrain, 566 F.2d 979, 985 (5th Cir. 1978);

see also Ridley, 199 F. Supp. 2d at 708 (“This is particularly true in a conspiracy case in which

the Government is not required to disclose all overt acts alleged to have occurred in furtherance

of the conspiracy.”) (citations omitted).

       Accordingly, a bill of particulars need not issue “in light of a detailed indictment.”

Salisbury, 983 F.2d at 1375. An indictment is deemed sufficiently detailed “if it, first, contains

the elements of the offense charged and fairly informs a defendant of the charges against which

he must defend, and second, enables him to plead an acquittal or conviction in bar of future

prosecutions for the same offense.” United States v. Superior Growers Supply, Inc., 982 F.2d

173, 176 (6th Cir. 1992) (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)). Courts

have generally held that an indictment satisfies these requirements if it “set[s] forth the elements


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of each offense charged, the time and place of the defendant’s conduct that violated that offense,

and citation to the statute or statutes violated.” United States v. Kendall, 665 F.2d 126, 134 (7th

Cir. 1981); United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991).

       In the present case, the Defendant is charged with several drug conspiracies in violation

of 21 U.S.C. § 846. “To obtain a conviction under section 846 the government must prove the

existence of an agreement to violate the drug laws and that each conspirator knew of, intended

to join and participated in the conspiracy.” Superior Growers Supply, Inc., 982 F.2d at 177

(citing United States v. Blakeney, 942 F.2d 1001, 1009 (6th Cir. 1991)). In this circuit, the

government is not required to charge or prove the commission of an overt act in furtherance of

the conspiracy to obtain a conviction. Id. (citing United States v. Nelson, 922 F.2d 311, 317-18

(6th Cir. 1990)).

       In his order denying the Defendant’s motion for a bill of particulars, the Magistrate Judge

expertly sets out the law and standards for the issuance of a bill of particulars. This Court agrees

with the Magistrate Judge’s reasoning and conclusions. According to the Magistrate Judge,

       The question is not whether further particularity would assist the defendant; more
       information is always useful. The question is whether the specific context
       presented requires further particularization in light of the limited reasons for Rule
       7(f). . . .

       Here, the indictment sets forth the defined § 846 elements to be proven at trial.
       The indictment identifies the date and location of parameters, identifies the
       specific substances at issue, and identifies co-conspirators. In this scenario, no
       basis for ordering a bill of particulars exists.

[Record No. 176, p. 4-5] As the Magistrate Judge noted, the indictment in this case sets out the

requisite elements of § 846, as well as the dates and location of the alleged conspiracies. The


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indictment further provides the citation to the statute alleged to be violated and thus satisfies the

requirements for a sufficiently detailed indictment. See Kendall, 665 F.2d at 134; Rey, 923 F.2d

at 1222. The Magistrate Judge also correctly points out that the cases and advisory committee

notes the Defendant cites in support of his motion1 “do not accurately reflect the manner in

which courts have applied Rule 7(f).” [Record No. 176, p. 5]

        The Court further finds that the Defendant is not entitled to a bill of particulars with

respect to Count 4 of the indictment, which charges him with the unlawful theft of over



1
        The Defendant cites United States v. Taylor, 707 F. Supp. 696 (D.C.N.Y. 1989), United States v.
Williams, 309 F.Supp. 32 (D.C. Ga. 1969), United States v. Nomura Trading Co., 213 F.Supp. 704 (D.C.N.Y.
1963), and United States v. Smith, 16 F.R.D. 372 (W.D. Mo. 1954), in his reply brief in support of his motion.
[Record No. 174]

        In Taylor, the Court granted the Defendant’s motion for a bill of particulars only with respect to the
approximate dates the conspirators allegedly joined the conspiracy, the approximate the dates and locations
of any meetings or conversations at which the Defendant allegedly joined the conspiracy, and the identities
of known co-conspirators, while denying the motion in all other respects. Taylor, 707 F. Supp. at 700.
However, that court’s holding is contrary to the law of this circuit, where “[a]s long as the indictment is valid,
contains the elements of the offense, and gives notice to the defendant of the charges against him, it is not
essential that a conspirator know all other conspirators . . . .” United States v. Rey, 923 F.2d 1217, 1222 (6th
Cir. 1991). Otherwise, that case is inapplicable as the indictment in this case already provides the
approximate dates that the conspirators allegedly joined the conspiracy, as well as the location of the
conspiracy.

         In Williams and Nomura Trading Company, the courts addressed indictments charging the defendant
with conspiracies, but the motions for a bill of particulars were specifically requested and granted with respect
to the overt acts alleged in furtherance of the conspiracy. Williams, 309 F. Supp. at 35; Nomura Trading Co.,
213 F. Supp. at 708. Because this circuit does not require the government to charge or prove an overt act to
obtain a conviction for a conspiracy, these cases are also inapplicable to the one currently before the Court.
See Superior Growers Supply, Inc., 982 F.2d at 177.

         Finally, Smith involved an indictment charging distribution of narcotics, not a conspiracy to
distribute. In that case, the court did direct the government to file a bill of particulars with respect to the
specific acts of selling drugs. Again, that case is not persuasive to the one currently before the Court. As the
Sixth Circuit recognized in United States v. Ridley, “[a] bill of particulars is not intended to allow the defense
to obtain detailed disclosure of all evidence held by the government before trial. This is particularly true in
a conspiracy case in which the Government is not required to disclose all overt acts alleged to have occurred
in furtherance of the conspiracy.” Ridley, 199 F. Supp. 2d at 708 (citations omitted).

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$5,000.00 in government funds.       The indictment alleges that, at all times relevant, the

Manchester Police Department was a government agency, that it received money from the

United States government in excess of $10,000.00 during the year-long period in which the

offense is alleged to have occurred, that the Defendant was an agent and employee of the

government agency, and that from April 2003 through March 2004, the Defendant “did

embezzle, steal, obtain by fraud, and otherwise without authority convert to the use of another

person other than the rightful owner, over $5,000 that was under the case, custody and control

of the MPD, all in violation of 18 U.S.C. § 666.” [Record No. 121, p. 3-4] As the Magistrate

Judge noted, “[c]ertainly, that level of particularity closely tracks the statutory language and

furnishes information adequate to meet the values of Rule 7.” [Record No.176, p. 7]

       Finally, the Court notes that the Defendant has received “voluminous discovery” from

the government, as well as other information concerning the charges against him and thus should

not suffer any prejudice as a result of the denial of his objection and motion. The Defendant has

access to the proposed plea agreement of Bobby Joe Curry, which provides detailed information

concerning the crimes charged against the Defendant. Additionally, although the Defendant

claims in his reply brief that the discovery as of November 2, 2006, “shed no light on the nature

of the charges in the second superceding indictment against Roberts,” he also asserts in his

motion to continue that he has not had sufficient time to review this discovery. [See Record No.

185] According to that motion, the Defendant asserts that, as of October 17, 2006, the

government had turned over in excess of 3,000 pages of discovery, including telephone records

and bank records.


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       Accordingly, because the indictment provides the Defendant with sufficient information

so that the he is informed of the charges against him and because the Defendant has access to

information beyond what is required in the indictment, a bill of particulars would serve no useful

purpose in this case.

       III.    CONCLUSION

       It is hereby ORDERED that the Defendant’s objection [Record No. 184] to the

Magistrate Judge’s Order denying the motion for a bill of particulars is DENIED.

       This 7th day of December, 2006.




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